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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  NEWNAN DIVISION
IN RE:                                        )             CASE NO.: 18-12053-WHD
                                              )
LARRY ANTHONY SCOTT                           )             CHAPTER 13
                                              )
         Debtor.                              )


                         MOTION TO IMPOSE AUTOMATIC STAY


         COME NOW Debtor, LARRY ANTHONY SCOTT, and asks this Court to impose the
automatic stay of 11 U.S.C. Section 362(a) in this Chapter 13 Bankruptcy Case against all
Creditors and show the Court the following:


                                                  1.


         On October 1, 2018, Debtor filed a Voluntary Petition for Bankruptcy relief under Title
11, Chapter 13 of the United States Code.


                                                  2.


         Debtor has filed a previous Chapter 13 bankruptcy case, bringing it within 11 U.S.C.
Section 362(c)(4). Case No. 18-11172 was filed on June 4, 2018 (the “First Case”) and dismissed
on August 30, 2018.


                                                  3.


         Debtor’s First Case was dismissed because he missed both the initial and reset Meeting of
Creditors hearings, and the confirmation hearing. There was miscommunication between the
Debtor and the Debtor’s previous attorney regarding the hearing dates. Debtor is a truck driver
and didn’t have direct access to his mail, and he was unaware of the reset hearing dates.
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                                                4.


       Debtor filed the instant case to prevent repossession of his vehicle, to pay off his
mortgage arrears, and to resolve his other unsecured debts. Debtor is able to propose a feasible
Chapter 13 Plan payment that will allow the Debtor to pay both his Chapter 13 Plan payments
and ongoing monthly living expenses. Do to no fault of the Debtor, the Motion to Extend Stay
was not filed in a timely fashion in this case. Imposing the automatic stay will help Debtor
prevent a repossession of his vehicles and allow him to address his other debts as well.


                                                5.


       Debtor has filed the instant case in good faith. Debtor asks the Court to find that the
presumption that the instant case was not filed in good faith has been rebutted by clear and
convincing evidence, as outlined above, and impose the automatic stay. Debtor asks the Court to
allow him the opportunity to be successful in their current Chapter 13 case.


       WHEREFORE, Debtor prays that this motion be granted and that the automatic stay of
11 U.S.C. Section 362(a) be imposed against all creditors.

Dated this 12th day of October 2018.

                                                     Respectfully Submitted,
                                                     ___/s/________
                                                     Howard Slomka, Esq.
                                                     Georgia Bar # 652875
                                                     Slipakoff & Slomka, PC
                                                     Attorney for Debtor
                                                     2859 Paces Ferry Rd, SE
                                                     Suite 1700
                                                     Atlanta, GA 30339
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  NEWNAN DIVISION
IN RE:                                        )              CASE NO.: 18-12053-WHD
                                              )
LARRY ANTHONY SCOTT                           )              CHAPTER 13
                                              )
                Debtor.
                                    NOTICE OF HEARING

         PLEASE TAKE NOTICE that LARRY ANTHONY SCOTT has filed a Motion to
Impose Automatic Stay and related papers with the Court seeking an Order on the Motion to
Impose Automatic Stay.
         PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
to Impose Automatic Stay in 2nd Floor Courtroom, United States Courthouse, 18 Greenville
Street, Newnan, Georgia 30263 at 09:320 A.M. on November 15, 2018.
         Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one). If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your view, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleadings with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk’s Office is: Clerk,
U.S. Bankruptcy Court, 18 Greenville Street, Newnan, Georgia 30263. You must also mail a
copy of your response to the undersigned at the address stated below.
Dated: October 12, 2018
                                                     ________/s/_____
                                                     Howard Slomka, Esq.
                                                     Georgia Bar # 652875
                                                     Slipakoff & Slomka, PC
                                                     Attorney for Debtor
                                                     2859 Paces Ferry Rd, SE
                                                     Suite 1700
                                                     Atlanta, GA 30339
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 NEWNAN DIVISION
IN RE:                                      )              CASE NO.: 18-12053-WHD
                                            )
LARRY ANTHONY SCOTT                         )              CHAPTER 13
                                            )
                  Debtor

                               CERTIFICATE OF SERVICE

       I, Howard Slomka, attorney for Debtor, certify that the below listed parties and the
attached service list have been served with a true and correct copy of the attached pleadings by
placing a copy of same in a properly addressed envelope with adequate postage thereon and
deposited in the United States Mail.

Melissa J. Davey (served via ECF)
Chapter 13 Trustee
Suite 200
260 Peachtree Street NW
Atlanta, GA 30303

Larry Anthony Scott
105 Largo Circle
Fayetteville, GA 30214

Wells Fargo Bank, NA
435 Ford Road, 3rd FL, Suite 300
Saint Louis Park, MN 55426-1063
Attn: Daosavanh Mua

Quantum3 Group LLC as agent for
Credit Corp Solutions Inc
PO Box 788
Kirkland, WA 98083-0788
Attn: Maria Capiral

Wells Fargo Bank, N.A.
Wells Fargo Card Services
PO Box 10438, MAC F8235-02F
Des Moines, IA 50306-0438
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Wells Fargo Bank
PO Box 10438
Des Moines, IA 50306
Attn: Janet L Samuelson

Broker Solutions, Inc d/b/a New American Funding
c/o New American Funding
11001 Lakeline Bouleveard, Ste 325
Austin, Texas 78717

Shapiro Pendergast & Hasty, LLP
211 Perimeter Center Parkway NE Suite 300
Atlanta, GA 30346
Attn: Lucretia L Scruggs

ACAR Leasing LTD
d/b/a GM Financial Leasing
PO Box 183853
Arlington, TX 76096
Attn: Aaron Rangel

Synchrony Bank c/o PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541
Attn: Valerie Smith

Quantum3 Group LLC as agent for Credit Corp Solutions Inc
PO Box 788
Kirkland, WA 98083−0788
Attn: Fran Rosello

SEE ATTACHED FOR ADDITIONAL CREDITORS


Dated: October 12, 2018

                                                   ____/s/______
                                                   Howard Slomka, Esq.
                                                   Georgia Bar # 652875
                                                   Slipakoff & Slomka, PC
                                                   Attorney for Debtor
                                                   2859 Paces Ferry Rd, SE
                                                   Suite 1700
                                                   Atlanta, GA 30339
Label Matrix forCase    18-12053-whd
                  local noticing              Doc 14
                                                   AshleyFiled  10/12/18 Entered 10/12/18 13:36:44
                                                          Furniture                                      Desc Main
                                                                                          Melissa J. Davey
113E-3                                                  Document
                                                   GE Capital Retail Bank Page 6 of 6     Melissa J. Davey, Standing Ch 13 Trustee
Case 18-12053-whd                                    Post Office Box 960061                               Suite 200
Northern District of Georgia                         Orlando, FL 32896-0061                               260 Peachtree Street, NW
Newnan                                                                                                    Atlanta, GA 30303-1236
Fri Oct 12 13:34:01 EDT 2018
(p)GEORGIA DEPARTMENT OF REVENUE                     Gm Financial                                         Home Depot Credit Services
COMPLIANCE DIVISION                                  Po Box 181145                                        PO Box 689100
ARCS BANKRUPTCY                                      Arlington, TX 76096-1145                             Des Moines, IA 50368
1800 CENTURY BLVD NE SUITE 9100
ATLANTA GA 30345-3202

Internal Revenue Service                             (p)NEW AMERICAN FUNDING                              PRA Receivables Management, LLC
PO Box 7346                                          11001 LAKELINE BLVD                                  PO Box 41021
Philadelphia, PA 19101-7346                          BLDG 1 SUITE 325                                     Norfolk, VA 23541-1021
                                                     AUSTIN TX 78717-5997


Quantum3 Group LLC as agent for Credit Corp          Larry Anthony Scott                                  Howard P. Slomka
PO Box 788                                           105 Largo Circle                                     Slipakoff & Slomka, PC
Kirkland, WA 98083-0788                              Fayetteville, GA 30214-2646                          Overlook III - Suite 1700
                                                                                                          2859 Paces Ferry Rd, SE
                                                                                                          Atlanta, GA 30339-6213

Synchrony Bank                                       Thd/cbna                                             United States Attorney
c/o PRA Receivables Management, LLC                  Po Box 6497                                          Northern District of Georgia
PO Box 41021                                         Sioux Falls, SD 57117-6497                           75 Ted Turner Drive SW, Suite 600
Norfolk, VA 23541-1021                                                                                    Atlanta GA 30303-3309


Wells Fargo Bank                                     Wells Fargo Bank Auto
Credit Bureau Dispute Resoluti                       Po Box 29704
Des Moines, IA 50306                                 Phoenix, AZ 85038-9704




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue                        New American Funding                                 End of Label Matrix
1800 Century Blvd                                    11001 Lakeline Blvd                                  Mailable recipients   16
Suite 17200                                          Austin, TX 78717                                     Bypassed recipients    0
Atlanta, GA 30345                                                                                         Total                 16
